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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                               GALVESTON DIVISION

       In re: JAMISON DYER                        §           Case: 24-80163-G-13
                                                  §
       Debtor                                     §           Chapter 13

            RESPONSE TO TRUSTEE’S AMENDED MOTION TO DISMISS

      Jamison Dyer, Debtor, files this Response to the Chapter 13 Trustee’s Amended Motion to
Dismiss:

       1.       Debtor desires to continue with the chapter 13 plan.

       2.       Debtor’s counsel has filed a proposed order for EFT.

       3.       Debtor has filed his federal income tax returns for the 2015-2020 tax years. Debtor’s
                counsel has provided a signed copy to the Internal Revenue Service.

       4.       Debtor is working to complete the 2021 and 2023 tax returns. Should be filed prior
                to the Friday, August 23, 2024, hearing.

       5.       Debtor’s counsel has filed an Amended Chapter 13 Plan.

       6.       Debtor’s counsel has provided the chapter 13 trustee with proof of income.

       7.       Debtors desire a hearing on the Motion to Dismiss.

        WHEREFORE, Debtors request that this court conduct a hearing, not dismiss the chapter 13
case, and for such other and further relief to which Debtors may be justly entitled.

Dated: August 21, 2024

                                              Respectfully submitted,


                                              /s/Reese W. Baker
                                              Reese W. Baker
                                              Texas Bar No. 01587700
                                              Sonya Kapp
                                              TX Bar No. 11095395
                                              Nikie Marie Lopez-Pagan
                                              TX Bar No. 24090233
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                                            713-869-9200
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                                            ATTORNEYS FOR DEBTOR


                                CERTIFICATE OF SERVICE

        I certify that on August 21, 2024, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.
                                               /s/Reese W. Baker
                                               Reese W. Baker
